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6                                                 Counsel for Defendant-Intervenor

7
                       IN THE UNITED STATES DISTRICT COURT
8                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

9    THE STATE OF CALIFORNIA; THE
     STATE OF DELAWARE; THE STATE OF
10                                                    Case No. 4:17-cv-05783-HSG
     MARYLAND; THE STATE OF NEW YORK;
11   THE COMMONWEALTH OF VIRGINIA,

            Plaintiffs,
12                                                    NOTICE OF APPEAL
     v.
13
     ERIC D. HARGAN, in his official capacity as
14   Acting Secretary of the U.S. Department of
     Health and Human Services; U.S.
15   DEPARTMENT OF HEALTH AND
     HUMAN SERVICES; R. ALEXANDER
16   ACOSTA, in his official capacity as
     Secretary of U.S. Department of Labor; U.S.
17
     DEPARTMENT OF LABOR; STEVEN
18   MNUCHIN, in his official capacity as
     Secretary of the U.S. Department of the
19   Treasury; U.S. DEPARTMENT OF THE
     TREASURY; DOES 1-100,
20
            Defendants,
21
     and,
22
     THE LITTLE SISTERS OF THE POOR,
23
     JEANNE JUGAN RESIDENCE,
24
            Defendant-Intervenor.
25
                                              1
                             Notice of Appeal (4:17-cv-05783-HSG)
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1                                    NOTICE OF APPEAL

2       Notice is hereby given that the Little Sisters of the Poor, Jeanne Jugan Residence,

3    Defendant-Intervenor in the above-captioned case, hereby appeals to the United States
4
     Court of Appeals for the Ninth Circuit from the Court’s Order (ECF No. 105) granting
5
     Plaintiffs’ motion for a preliminary injunction, entered in this action on December 21,
6
     2017.
7

8    Dated: January 26, 2018                Respectfully submitted,

9
                                            /s/ Eric C. Rassbach
10                                          Eric C. Rassbach – No. 288041
                                            Mark L. Rienzi, pro hac vice
11
                                            Lori H. Windham, pro hac vice
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19

20                                          Counsel for Defendant-Intervenor

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                                                2
                               Notice of Appeal (4:17-cv-05783-HSG)
